











Opinion issued April 28, 2010
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;












In The
Court of Appeals
For The
First District of Texas




NO. 01-10-00284-CV




IN RE BFI WASTE SERVICES OF TEXAS, LP, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINION 




By petition for writ of mandamus, relator, BFI Waste Services of Texas, LP,
challenges the trial court’s orders granting a motion to obtain documents filed in
camera.              
We deny the petition for writ of mandamus. 
Per Curiam&nbsp;
&nbsp;
Panel consists of Justices Jennings, Higley, and Bland. 



